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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                            Defendant




      GOVERNMENT’S SURREPLY TO DEFENDANT’S REPLY IN SUPPORT OF HIS
     MOTION TO COMPEL THE PRODUCTION OF BRADY MATERIAL AND FOR AN
                        ORDER TO SHOW CAUSE

        The United States of America, by and through its undersigned counsel, respectfully files

this surreply to respond to arguments and claims raised for the first time by defendant Michael

Flynn in his Reply in Support of His Motion to Compel Production of Brady Material and to

Hold the Prosecutors in Contempt, United States v. Flynn, 17-cr-232 (Doc. 129-2) (“Reply”),

filed on October 22, 2019. Although the defendant ostensibly accepts that Brady v. Maryland,

373 U.S. 83 (1963), and the Court’s Standing Order, pertain to information that is favorable and

material to his guilt or punishment, his Reply is untethered to that standard. As described below,

each new argument or claim is unsupported by fact or law, and does not identify favorable and

material information that the government has failed to produce. Accordingly, the defendant’s

motion should be denied.

I.      Brady Does Not Require the Government to Produce Material to an Uncharged
        Individual During an Ongoing Criminal Investigation

        The defendant alleges in his Reply, for the first time, that the government violated Brady

when it failed to produce alleged Brady material to him during the government’s pending

criminal investigation, in advance of his five voluntary meetings with the government that
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preceded his December 1, 2017 guilty plea. Brady imposes no such requirement for uncharged

individuals. Brady requires the government to disclose all evidence that is “favorable to an

accused . . . where the evidence is material either to guilt or punishment.” United States v.

Bagley, 473 U.S. 667, 669 (1985) (quoting Brady, 373 U.S. at 87) (emphasis added). Brady is

rooted in the Constitutional right to due process. “Due process” imposes constraints on

governmental decisions that deprive individuals of “liberty” or “property” interests within the

meaning of the Due Process Clause of the Fifth or Fourteenth Amendment. Mathews v.

Eldridge, 424 U.S. 319, 332 (1976). The defendant identifies no court that has found the Brady

doctrine applicable outside the context of a formally charged criminal case. 1

       Here, the defendant alleges that he was “entitled to all the Brady evidence in the

government’s possession well before November 2017.” Reply at 20. Prior to December 1, 2017,

however, the defendant had not been charged with a crime. After communications between the

government and the defendant’s counsel, the defendant agreed to meet with the government in

November 2017 (specifically, on November 16, 17, 20, 21, and 29). Each interview was

voluntary. The defendant was represented by counsel, was free to leave at any time, and was

afforded protections by the government against his statements during those meetings being used

against him. During the entirety of the interviews, the government had not filed criminal charges



1
         Courts outside of this district have applied Brady-type disclosure in civil cases “in rare
situations” where a person’s liberty was at stake. See Brodie v. Dep't of Health & Human Servs.,
951 F. Supp. 2d 108, 118 (D.D.C. 2013), aff'd sub nom. Brodie v. U.S. Dep't of Health & Human
Servs., No. 13-5227, 2014 WL 211222 (D.C. Cir. Jan. 10, 2014). The three decisions applying
that rule, however, all involved proceedings that the government had formally initiated against a
defendant. See id. at 118-19 (explaining that the cases involved extradition and denaturalization,
a civil commitment proceeding, and a complaint alleging discriminatory employment practices);
see also United States v. Project on Gov't Oversight (“POGO ”), 839 F. Supp. 2d 330, 342–43
(D.D.C. 2012).


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against the defendant, and a plea agreement had not been signed. In short, the government had

no obligation to provide the defendant with any information before or during those voluntary

interviews. 2

        Thereafter, the government disclosed to the defendant multiple pieces of information that

he now claims are exculpatory: one of the interviewing agents was under investigation for

misconduct relating to certain text messages that showed a preference for one of the candidates

for President; the same interviewing agent believed that the defendant had a sure demeanor and

did not give any indicators of deception during the January 24 interview; and both interviewing

agents had the impression at the time that the defendant was not lying or did not think he was

lying. The government also answered various questions from defense counsel. See

Government’s Response to Defendant’s Motion to Compel the Production of Brady Material and

For an Order to Show Cause at 5-6, United States v. Flynn, 17-cr-232 (D.D.C. Oct. 1, 2019)

(Doc. 122) (“Opposition”).

        After the government made those disclosures, on November 30, 2017, the defendant

signed the plea agreement and the government filed an information with the Court, charging the

defendant with one count of “willfully and knowingly” making material false statements about

his communications with the Russian Ambassador during an interview with the Federal Bureau

of Investigation (“FBI”) on January 24, 2017 (“January 24 interview”). On December 1, 2017,

the defendant entered a knowing and voluntary guilty plea. Thereafter, this case was transferred

to this Court, which issued its Standing Order. Id. at 3-7.



2
        Despite having no obligation to do so, the government provided materials to the
defendant during this period. On November 22, 2017, the government provided the defendant
with the FBI report for the defendant’s January 24 interview. Moreover, throughout the five
interviews, the government presented the defendant with dozens of relevant documents.

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       Beginning on March 18, 2018, after the issuance of a protective order, the government

provided additional discovery to the defendant. Although the defendant now complains about

the pace of that discovery, before December 18, 2018, the defendant was in possession of all of

the information on which he now bases his argument that the case should be dismissed due to

government misconduct. See Reply at 1-2, 16, 26; Notice of Discovery Correspondence, United

States v. Flynn, 17-cr-232 (D.D.C. Oct. 1, 2019) (Doc. 123). Thereafter, on December 18, 2018,

the defendant and his counsel affirmed for this Court that they had no concerns that potential

Brady material or other relevant material had not been provided to the defendant. See Hearing

Transcript at 8-10, United States v. Flynn, No. 17-cr-232 (D.D.C. Dec. 18, 2018) (“12/18/2018

Hearing Tr.”). The defendant further affirmed, under oath, that he wished to proceed to

sentencing because he was guilty of making false statements to the FBI. See id. at 16.

II.    The Government Did Not Suppress Exculpatory Information Relating to the
       Creation of the January 24 Interview Report

       The defendant now asserts that the government has suppressed exculpatory material

pertaining to the January 24 interview report that documents his false statements to the FBI. The

Reply alleges that the government has suppressed the “original 302” of the January 24 interview,

and fabricated certain notes and reports of the January 24 interview. Reply at 23-24. The

arguments appear premised on three contentions: that “material” changes were made to the

interview report after February 10, 2017; that the government hid the fact that the defendant had

a sure demeanor; and that former Deputy Assistant Director (“DAD”) Peter Strzok’s handwritten

notes were not taken contemporaneously during the interview. See Reply at 10-11, 23-27. Each

contention is divorced from the facts.

       The interviewing agents’ handwritten notes, interview report, drafts of the interview

report, and statements are consistent and clear that the defendant made multiple false statements


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to the agents about his communications with the Russian Ambassador on January 24, 2017.

Both interviewing agents’ handwritten notes are clear that when they first asked the defendant

about his contacts with Russia, the defendant spoke about multiple communications, but omitted

his communications with the Russian Ambassador about the United Nations (“UN”) Vote or

U.S. Sanctions. See Exhibit 1, DAD Strzok’s Handwritten Notes of January 24 Interview at 2

(“Strzok Notes”) (no mention of U.S. Sanctions or the UN Vote before the agents provided a

“reminder” about the UN Vote); Exhibit 2, Other Interviewing Agent’s Handwritten Notes of

January 24 Interview at 3 (“Other Agent Notes”) (same). Both interviewing agents’ notes are

clear that when they ultimately prompted the defendant about his conversations on the UN Vote,

he repeatedly denied that his efforts were intended to get Russia (or other foreign governments)

to change their vote. See Other Agent Notes at 3 (“What is your position // No: hey if you do

this…;” Question: “Any vote this way, slow down[?],” Answer: “No.”); Strzok Notes at 2 (“Get

sense where stood on that vote;” “Wasn’t hey if you do this it will be that;” Question: “Ø please

consider voting this way?,” Answer: “No. Where do you stand? What’s position.”). And both

interviewing agents’ notes are clear that the defendant maintained that he had “[n]o recollection”

of speaking with the Russian Ambassador about U.S. Sanctions, and that the defendant did not

have a “long drawn out” conversation with the Russian Ambassador about “don’t do something.”

Other Agent Notes at 4; Strzok Notes at 3 (“Ø recollection? Not really, I don’t remember. Hey

don’t do anything;” “Ø long drawn out about don’t do something”). The final interview report

and every draft of that report document those same false statements, in a clear and consistent

manner. See Drafts of FD-302 Report of January 24 Interview (Exhibit 3).

       Contrary to the defendant’s assertion, there were no material changes made after

February 10, 2017, to the draft of the January 24 interview report. See Reply at 26. On February

10, 2017, DAD Strzok highlighted two—and only two—sentences where he did not recall a
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statement that the other interviewing agent included in the draft of the report. See Exhibit 3 at 2,

4. Neither of those sentences pertain to the defendant’s false statements. A careful review of the

draft of the interview report dated February 10, 2017, details each of the defendant’s material

false statements—which track the agents’ handwritten notes. Id. at 1-5. In describing his

communications with Russian officials, including his call with the Russian Ambassador on

December 29, 2016, the defendant did not disclose his communications with the Russian

Ambassador about the UN Vote or U.S. Sanctions. Id. at 1-3. When prompted about the UN

Vote, the defendant acknowledged he had such a communication, but falsely stated that the

purpose was to “get a sense of where countries stood on the vote.” Id. at 4. When the agents

asked him if he made any comment to the Russian Ambassador about voting in a particular way,

“Flynn answered, ‘No.’” Id. With respect to U.S. Sanctions, the defendant specifically said “he

did not” recall such a conversation with the Russian Ambassador (despite having two such calls).

Id. at 4. When the agents pressed the matter, and asked whether the defendant encouraged the

Russian Ambassador to not engage in a “tit-for-tat,” the defendant false stated, “Not really. I

don’t remember. It wasn’t, ‘Don’t do anything.’” Id. at 4-5. When they agents pressed yet

again, the defendant stated that “he did not have a long drawn out discussion about ‘don’t do

something.’” Id. at 5. The final interview report, just like the agent’s handwritten notes, reflect

all of the above material false statements. See Notice (Official Record of January 24 Interview

Report), United States v. Flynn, No. 17-cr-232 (D.D.C. June 6, 2019) (Doc. 85). The edits to the

interview report between February 10 and February 15, largely grammatical and stylistic, did not

alter the above-described false statements.

       The Reply nonetheless suggests that there is a suppressed “original 302” that would

exonerate the defendant. See Reply at 27-30. There is no evidence to support the defendant’s

claim. First, the government has provided the defendant with every draft of the January 24
                                                 6
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interview report in its possession. Second, the most “original” interview documents are the

handwritten notes themselves, which the government provided to the defendant and detail the

defendant’s multiple false statements. Third, even if an earlier draft of the interview report once

existed, there is no reason to believe it would materially differ from the interviewing agents’

handwritten notes or the other drafts—all of which state that the defendant made the specific

false statements to which the defendant admitted guilt. Fourth, the interviewing agents’

statements to FBI and Department of Justice (“DOJ”) officials immediately following the

interview on January 24, 2017, confirm that the defendant made multiple false statements 3—that

is why DOJ officials immediately contacted the White House after the interview (the National

Security Advisor had just lied to the FBI about his communications with Russia). And, fifth, the

defendant’s false statements to the FBI on January 24, 2017, were the same false statements that

he made just days earlier to Vice President Michael Pence, White House Chief of Staff Reince

Priebus, White House Press Secretary Sean Spicer, and The Washington Post. 4

       The defendant also now adopts the position that DAD Strzok’s handwritten notes were

not taken contemporaneously during the interview. See Reply at 24-25. However, for support,

the defendant relies on a handwriting expert, whose declaration provides the unremarkable



3
       See, e.g., Reply, Ex. 2 at 4 (DAD Strzok described the defendant to former FBI attorney
Lisa Page on January 24, 2017, as “denying it all”).
4
        See Face the Nation Transcript January 15, 2017: Pence, Manchin, Gingrich, CBS
NEWS (Jan. 15, 2017) (Vice President recounting that defendant told the Vice President that he
(defendant) did not discuss sanctions with the Russian Ambassador); Meet The Press 01/15/17,
NBC NEWS (Jan. 15, 2017) (Priebus recounting defendant told him “[t]he subject matter of
sanctions or the actions taken by the Obama [sic] did not come up in the conversation [with the
Russian Ambassador.]”); White House Briefing by Sean Spicer – Full Transcript, Jan. 23, 2017,
CBS NEWS (Jan. 24, 2017) (Spicer recounting that the day before defendant again denied having
spoken to the Russian Ambassador about sanctions); David Ignatius, Why did Obama Dawdle on
Russia’s hacking?, WASH. POST (Jan. 12, 2017) (article noted two members of the Presidential
Transition Team stated defendant “didn’t cover” sanctions with the Russian Ambassador).
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conclusion that the expert could render “no conclusion” on whether the notes were written during

the interview. Reply, Ex. 16 at 3. 5 The defendant also does not contest the authenticity of the

other interviewing agents’ notes, which confirm the defendant’s multiple false statements. Both

interviewing agents repeatedly attested to the accuracy of the final interview report, which again

confirm the defendant’s false statements. See, e.g., FD-302 of Other Interviewing Agent dated

Jan. 31, 2018 (Exhibit 4) (“all of the information in the FD-302 [of the January 24 interview] is

accurate”).

       The defendant also places significant weight on DAD Strzok’s remark that the defendant

had “a very ‘sure’ demeanor and did not give any indicators of deception.” Strzok 302 at 3.

Without citation or explanation, the defendant intimates that such words were edited out of an

earlier draft of the interview report. See Reply at 24. There is no evidence that that occurred, or

that the government attempted to suppress those statements. It informed the defendant of the

assessment before the defendant signed the plea agreement and pleaded guilty, and documented

DAD Strzok’s assessment in a separate interview of DAD Strzok (which it provided to the

defendant in discovery). Moreover, DAD Strzok’s assessment does not exonerate the defendant.

There is ample public evidence that the defendant also convincingly lied to other government

officials about his conversations with the Russian Ambassador. The defendant made the same

false statements to the Vice President, White House Chief of Staff, and White House Press

Secretary, each of whom repeated the defendant’s false statements on national television.




5
        The government maintains that the defendant misquoted the interview of DAD Strzok on
July 26, 2017. Rather than indicating he took no notes, DAD Strzok reported that the other
interviewing agent was the person “primarily” responsible for taking notes. FD-302 of Peter
Strzok dated July 19, 2017 at 3 (Doc. 56-2) (“Strzok 302”).

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III.   The Government Did Not Suppress Exculpatory Text Messages

       The defendant further alleges that the government is “suppressing” text messages

between DAD Strzok and Page that are “exculpatory and material.” 6 Reply at 6. They are

neither. Specifically, the defendant refers to text messages quoted in a CNN article. One text

message concerns a January 10, 2017, discussion to conduct interviews based on the public

release of a report from Christopher Steele. There is no indication that Strzok and Page were

referring to the defendant. To the contrary, the interview of the defendant was not related to the

Steele report, or any such “pretext.” Rather, the interview of the defendant followed events on

January 23, 2017, the day before his FBI interview, when the White House Press Secretary

recounted that he had recently spoken with the defendant, and the defendant had again denied

speaking to the Russian Ambassador about U.S. Sanctions. See White House Briefing by Sean

Spicer – Full Transcript, Jan. 23, 2017, CBS NEWS. The defendant also refers to text messages

that appear to relate to FBI conversations with the media. There is nothing “exculpatory” about




6
        The government informed the defendant about the existence of the text messages and
their import on November 30, 2017; later informed the defendant that it had learned there were
additional text messages that it did not have access to at that time; provided a hyperlink to those
new text messages when they became available; and provided additional text messages
pertaining to the defendant when it later came in possession of still more text messages. See
Opposition at 8-9. For the first time, the defendant claims that text messages from a hyperlink
that the government provided on June 24, 2018, can no longer be downloaded. See Reply at 6.
Upon reading the Reply, the government revisited the hyperlink and determined that many of the
text messages can no longer be viewed. Accordingly, on October 28, 2019, the government
provided a hard copy of those messages to defense counsel. However, none of those text
messages are favorable and material to the defendant’s guilt or punishment. It is also telling that
the defendant did not represent to the Court that it was unable to obtain access to those text
messages; indeed it appears the defendant included some of them in his Reply at Ex. 2.

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the messages. They occurred on February 14, 2017—weeks after the defendant had provided

false statements to the FBI. 7

IV.    The Defendant’s Lies Were Material Under the Law

       The defendant also claims, again for the first time, that his lies to the FBI were not

material because the agents asked him “nothing relevant to efforts to interfere in the 2016

election.” Reply at 27-28; but see Statement of Offense at 1-2, United States v. Flynn, No. 17-cr-

232 (D.D.C. Dec. 1, 2017) (Doc. 4) (“FLYNN’s false statements and omissions impeded and

otherwise had a material impact on the FBI’s ongoing investigation into the existence of any

links or coordination between individuals associated with the [Trump] Campaign and Russia’s

efforts to interfere with the 2016 presidential election.”). His false statements to the FBI on

January 24, 2017, were absolutely material. At the time of the January 24 interview, the FBI was

conducting a counterintelligence investigation into whether individuals associated with the

campaign of then-candidate Donald J. Trump were coordinating with the Russian government in

its activities to interfere with the 2016 presidential election. See SPECIAL COUNSEL ROBERT S.

MUELLER III, REPORT ON THE INVESTIGATION INTO RUSSIAN INTERFERENCE IN THE 2016

PRESIDENTIAL ELECTION (Mar. 2019) (“Special Counsel Report”), Vol. I. at 1. The defendant’s

conduct and communications with Russia went to the heart of that inquiry. Actions such as the

defendant’s communications with the Russian Ambassador about U.S. Sanctions could have

been indicative of such coordination.

       The Supreme Court has held that a false statement is material if it has “a natural tendency

to influence, or [is] capable of influencing, the decision of the decision making body to which it


7
        The defendant maintains that a redaction in a May 10, 2017 text message about an effort
to “lock in” someone refers to the defendant. See Reply at 12. The redacted name is not the
defendant.

                                                 10
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was addressed.” United States v. Gaudin, 515 U.S. 506, 509 (1995). 8 The defendant’s multiple

false statements during the January 24 interview clearly meet that standard. It was imperative

that the FBI determine whether and why such communications with the Russian Ambassador had

occurred. The defendant’s false statements inhibited the FBI’s ability to obtain that critical

information, raised questions about why the defendant would lie to the FBI about such

communications, and fundamentally influenced the FBI’s investigative activity going forward.

V.     The Defendant Waived Any Potential Conflict of Interest

       For the first time in his Reply, the defendant proclaims that his representation by prior

counsel presented an “intractable conflict of interest,” and through that conflict “the government

sat back and harvested a guilty plea.” Reply at 17-18. The defendant, however, omits that the

government had discussions about this issue with his counsel. Whether or not there was a

conflict of interest, the government raised the potential issue with the defendant’s counsel before

the government ever spoke to the defendant. See Brandon L. Van Grack, Memo to File, Nov. 16,

2017 (Exhibit 5). On November 1, 2017, and November 16, 2017, the government affirmatively

flagged the potential issue for the defendant’s counsel. In both instances, the defendant’s

counsel indicated that they had “thoroughly discussed” the issue with their client, who waived

“any such conflict.” Id. Additionally, during the scheduled sentencing hearing on December 18,

2018, the defendant declined the Court’s invitation to have the Court appoint “an independent

attorney to speak with [the] defendant, review the defendant’s file, and conduct necessary

research to render a second opinion for [the] defendant.” 12/18/2018 Hearing Tr. at 9.




8
        “A statement ‘need not actually influence an agency in order to be material.’” United
States v. Verrusio, 762 F.3d 1, 20 (D.C. Cir. 2014), quoting United States v. Moore, 612 F.3d
698, 701-02 (D.C. Cir. 2010). See also United States v. Stone, 394 F. Supp. 3d 1, 12–13 (D.D.C.
2019).
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VI.    The Government Had Ample Justification to Interview the Defendant as Part of Its
       Ongoing Investigation

       The defendant also now argues that the information he seeks will prove that the “FBI had

no factual or legal basis for a criminal investigation.” Reply at 14-16. In support, the defendant

cites to the standard necessary to obtain a warrant pursuant to the Foreign Intelligence

Surveillance Act (”FISA”). See Reply at 14, n.11. Obtaining a FISA warrant, however, is

entirely different from the FBI interviewing an individual as part of an ongoing

counterintelligence investigation. Here, there were multiple bases for the FBI to interview the

defendant. The defendant’s false statements publicly attributed to him by White House officials

about his communications with Russia were alone a sufficient and appropriate basis for

conducting the investigative step of interviewing the defendant.

VII.   There is No Basis for Sanctions, Including Dismissal

       In his Reply, the defendant also seeks a new category of relief, that “this Court . . .

dismiss the entire prosecution for outrageous government misconduct.” Reply at 32; see also id.

at 3 (“dismiss the entire prosecution based on the outrageous and un-American conduct of law

enforcement officials and the subsequent failure of the prosecution to disclose this evidence . . .

in a timely fashion or at all”). The defendant does not state under what federal or local rule he is

seeking such relief, or cite to relevant case law. 9 In order to provide a response, the government

presumes, given the context in which this request for relief arose, that the defendant is seeking




9
        Local Criminal Rule 47(a) specifically requires that “[e]ach motion shall include or be
accompanied by a statement of the specific points of law and authority that support the motion,
including where appropriate a concise statement of the facts” (emphasis added). The defendant
now seeks relief from this Court for claims that he has not properly raised; the government is
hampered in its ability to accurately respond to the defendant’s argument because he has failed to
state the specific points of law and authority that support his motion.

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dismissal as a remedy or sanction for a purported failure to comply with Brady and/or this

Court’s Standing Order.

       There is no basis for the new relief requested, or any sanction. In the first instance, the

government has complied with Brady, and this Court’s Standing Order, as set forth in detail in

the government’s Opposition and herein. The government tendered more than 22,000 pages of

material, including much of the material that the defendant relies upon for its allegations. For

example, the defendant’s suppression allegations in his Reply (at 5-14, 28) are based entirely on

text messages and other materials that the government provided in discovery, or that were

publicly available prior to the defendant reaffirming his guilt on December 18, 2018. As

described supra, there is no merit to the defendant’s claims that the government “suppressed”

exculpatory text messages or an exculpatory “original 302.”

       Nor did law enforcement officials engage in “outrageous” conduct during the criminal

investigation and prosecution of the defendant. On January 24, 2017, when the defendant lied in

his interview, the FBI was engaged in a legitimate and significant investigation into whether

individuals associated with the campaign of then-candidate Donald J. Trump were coordinating

with the Russian government in its activities to interfere with the 2016 presidential election. The

defendant was not “ambushed” at the interview, and the interviewing agents certainly did not

engage in “outrageous” conduct that undermines the fact that he lied. Reply at 1, 7. The

documents produced by the government in discovery show that the FBI asked the defendant for

permission to conduct the interview, informed the defendant that the questions would concern his

“contacts with the Russian Ambassador to the United States,” interviewed the defendant in his

own office, and afforded him multiple opportunities to correct his false statements by revisiting

key questions. See, e.g., Memorandum of Andrew McCabe dated January 24, 2017 (Doc. 56-1)

(“McCabe Memo”); Strzok 302. Tellingly, the defendant supports his allegation by selectively
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quoting from documents. For example, the Reply states that, according to the Strzok 302, the

agents decided they would not confront the defendant if he did not confirm his statements. See

Reply at 8. But the Reply omits the sentence in the Strzok 302 preceding that reference, where

DAD Strzok explained that “if Flynn said he did not remember something they knew he said,

they would use the exact words Flynn used . . . to try to refresh his recollection.” Reply, Ex. 6

(emphasis added).

       The interviewing agents’ handwritten notes and report provide further confirmation that

the defendant was not “trap[ped].” Reply at 1. The interviewing agents repeatedly sought to

prompt the defendant to provide a truthful response. When the defendant first failed to mention

his calls with the Russian Ambassador about the UN Vote and U.S. Sanctions, the agents raised

the topics themselves. When the defendant then denied making a request to the Russian

Ambassador about the UN Vote, the agents nevertheless asked him if he made any comment to

the Russian Ambassador about voting in a particular way. And when the defendant specifically

denied talking at all about U.S. Sanctions, the agents nevertheless asked him whether the Russian

Ambassador told him that the Russian government had taken the defendant’s request into

account. Such conduct demonstrates that the agents were not in search of a crime, but the truth

about what had happened and why—which the defendant failed to provide. Had they wanted to

“trap[]” the defendant into a false statement charge, they would not have prompted him

repeatedly to correct his statements.

       For all of the above reasons, it is no surprise that with the same set of facts, the defendant

and his prior counsel previously represented to this Court that the circumstances of the interview

had no impact on his guilt, or guilty plea. On December 18, 2018, when the Court asked the

defendant if he wished to “challenge the circumstances on which you were interviewed by the



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FBI,” he responded, under oath, “No, Your Honor.” 12/18/2018 Hearing Tr. at 8. 10 The Court

then asked the defendant if he understood that “by maintaining your guilty plea and continuing

with sentencing, you will give up your right forever to challenge the circumstances under which

you were interviewed,” to which the defendant answered, “Yes, Your Honor.” Id. And when

the Court queried whether the defendant wanted an opportunity to withdraw his plea because one

of the interviewing agents had been investigated for misconduct, the defendant stated “I do not,

Your Honor.” Id. at 9. His counsel likewise represented to the Court that their client was not

“entrapped by the FBI,” and that they did not contend “any misconduct by a member of the FBI

raises any degree of doubt that Mr. Flynn intentionally lied to the FBI.” Id. at 11-12.

       The Reply, thus, fails to identify any Brady violations or “outrageous” conduct in this

criminal case, and certainly no such conduct that is “clear and convincing.” Reply at 32. 11




10
        See also 12/18/2018 Hearing Tr. at 8 (Court: “At the time of your January 24th, 2017
interview with the FBI, were you not aware that lying to FBI investigators was a federal crime?”;
Defendant: “I was not – I was aware.”; Court: “You were aware?”; Defendant: “Yeah.”).
11
         Even if the Court were to find that the government had violated Brady, which it has not,
the relief that the defendant requests for the first time in his Reply would be inappropriate. The
baseline remedy for a Brady violation in this district is retrial, not dismissal. United States v.
Pettiford, 627 F.3d 1223, 1228 (D.C. Cir. 2010) (“If we find a Brady violation, a new trial
follows as the prescribed remedy, not as a matter of discretion.”) (internal quotation marks
omitted). Only where “the lingering prejudice of a Brady violation has removed all possibility
that the defendant could receive a new trial that is fair,” should a case be dismissed. United
States v. Pasha, 797 F.3d 1122, 1139 (D.C. Cir. 2015). Dismissal of a criminal case is
appropriate only as a last resort, where no other remedy would cure prejudice against a
defendant. See Bank of Nova Scotia v. United States, 487 U.S. 250, 263 (1988) (holding that
district court had no authority to dismiss where lesser remedy was available).
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VIII. Conclusion

       Though rife with new claims, allegations, and arguments, the Reply does not identify

information favorable and material to the defendant’s guilt or sentencing that the government did

not provide. The defendant’s protestations of innocence and being misled into a guilty plea are

demonstrably false, and do not justify the production of additional material under Brady or the

Court’s Standing Order. Accordingly, the defendant’s motions to compel production of Brady

material should be denied.


                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    United States Attorney
                                                    D.C. Bar No. 472845

                                                    By:            /s/

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Dated: November 1, 2019




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                              CERTIFICATE OF SERVICE
        I, Brandon L. Van Grack, certify that I caused to be served a copy of the foregoing by
electronic means on counsel of record for the defendant on November 1, 2019.




                                                    /s/
                                           Brandon L. Van Grack
                                           950 Pennsylvania Ave., NW
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                                           Attorney for the United States of America




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                                                         DOJSCO-700021197
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                                                         DOJSCO-700021198
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             EXHIBIT 2
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             EXHIBIT 5
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MEMO TO FILE

Date: November 16, 2017

From: Brandon L. Van Grack



On November 1, 2017, SASC Zainab Ahmad, SA William Barnett, and I met with attorneys for General
Michael T. Flynn from Covington, Robert Kelner, Stephen Anthony, and Alexandra Langton to discuss
their client assisting the investigation and resolving the matter. At the meeting, I raised the fact that
there may be a potential conflict in Mr. Kelner and Covington’s representation of General Flynn because
among the criminal charges our office was considering were false statements General Flynn made in
documents filed with the Department of Justice on March 7, 2017, which Kelner and Covington helped
prepare. At that meeting, Mr. Kelner stated that they (Covington) were aware of the potential conflict,
had previously discussed it with their client, and that their client was interested in nevertheless
continuing to be represented by Covington.

On November 16, 2017, at approximately 10:00am, Zainab and I spoke with Stephen Anthony over the
phone. The purpose of the call was to confirm, before our proffer session with General Flynn later that
afternoon, that their client waived any such conflict. Mr. Anthony stated that they had “thoroughly
discussed” the issue with their client, including that they (Covington) could be fact witnesses and have
differing interests from their client on issues relating to the alleged false statements. Mr. Anthony
further represented that Flynn waived “any such conflict.”
